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                    EXHIBIT 11
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               Number of Claimants for Whom Sutton Accessed Their Computer Records
                                          (By Law Firm)


          Law Firm's Name                                                 Number of Claimants


          ProSe*                                                                  45
          Block Law Firm APLC                                                      7
          Law Office of Harry Still, lll, LLC                                      7
          Sher, Gamer, Cahill, Richter, Klein & Hilbert, LLC                       7
          Breit Drescher Imprevento & Walker. P.C                                  6
          Steven E. Psarellis A.P.L.C. DBA Psarellis & Assoicates P.L.C            6
          Mestayer and Mestayer                                                    5
          Andry Law Group/ Andry Lerner, LLC                                       4
          Diliberto & Kirin, L.L.C.                                                4
          Wheeler & Wheeler                                                        4
          Aylstock, Witkin, Kreis & Overholtz, PLC                                 3
          Brent Coon & Associates                                                  3
          Cao Law Firm                                                             3
          Daniell, Upton, & Perry, P.C.                                            3
          Faegre, Baker, Daniels, LLP                                              3
          Margaret Landry Attorney at Law, LLC                                     3
          Waltzer Wiygul & Garside, LLC                                            3
          Ballay, Braud & Colon, PLC                                               2
          Beasley, Allen, Crow, Methvin, Portis & Miles, PC                        2
          Cunningham Bounds, LLC                                                   2
          E.J. Saad Law Firm                                                       2
          Fayard & Honeycutt                                                       2
          Kuykendall & Associates, LLC                                             2
          Lundy, Lundy, Soileau & South, L.L.P.                                    2
          Motley Rice, LLC                                                         2
          Talbot Cannouche & Marcello                                              2
          Tammy Tran Attorneys at Law, LLP                                         2
          The Dugan Law Firm                                                       2
          Wallace J.D. Weylie law Firm                                             2
          Antin Law Firm                                                           1
          Baldwin. Hasoel Burke & Mayer, LLC                                       1
          Barrios, Kingsdorf & Casteix, L.LP.                                      1
          Berniard Law Firm                                                        1
          Berntsson, lltersagen, Gunderson & Wideikis, LLP                         1
          Bohrer Law Firm, L.L.C.                                                  1
          Bordelon & Theriot                                                       1
          Burke and Cestia                                                         1
          Cao law Firm                                                             1
          Corban, Gunn & Van Cleave, PLLC                                          1
          Dan A. Smethennan                                                        1
          Daniel D. Holliday, III, Attorney at Law, LLC                            1
          Danziger & De Llano, LLP                                                 1


*Includes Andry Law Firm
Source: SM-01-GL00489-507                                                                       1 of 2
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               Number of Claimants for Whom Sutton Accessed Their Computer Records
                                          (By Law Firm)


          Law Firm's Name                                                  Number of Claimants

          Fresh Start Law Group                                                    1
          Friedman. Rodman & Frank, P.A.                                           1
          Goldberg, Finnegan & Mester. LLC                                         1
          John Pieksen & Associates, LLC                                           1
          Kingsmill Riess, LLC                                                     1
          Law Office of David W. Bernberg                                          1
          Law Office of J. N. Randall, Jr.                                         1
          Law Offices of Judy M. Guice, P.A.                                       1
          Law Offices of Smith Stag, LLC                                           1
          Levi Law Firm                                                            1
          Liles Parker. PLLC                                                       1
          Lyons & Farrar, P.A.                                                     1
          Martzell &Bickford                                                       1
          Michael J. Mestayer, APLC                                                1
          Michael P. Arata, LLC                                                    1
          Michael. Mestayer, APLC                                                  1
          Milam & Milam. LLC                                                       1
          Mississippi Center for Justice                                           1
          Nix Patterson & Roach, LLP                                               1
          Reeves & Mestayer, PLLC                                                  1
          Se7en, LLC                                                               1
          Smith I Oropeza, P.L                                                     1
          St. Martin & Bourque                                                     1
          Stephens Law Firm, P.A.                                                  1
          Sutton. Alker & Rather. LLC                                              1
          The Baldwin County Alabama Law Oftice For Civil Litigation LLC           1
          The Cochran Firm                                                         1
          The Diaz Law Firm                                                        1
          The Law Offices of Salman and Associates, LLC                            1
          The Law Offices of William S. Vincent,                                   1
          The Mills Law Firm                                                       1
          Vaeth Law P.A.                                                           1
          Warrington Law Office                                                    1
          Williams, Kherkher, Han & Bounds, L.L.P.                                 1
          Williamson & Rusnak                                                      1

          Total Claimants                                                         188
          Total Number of Law Firms                                                77




*Includes Andry Law Firm
Source: SM-01-GL00489-507                                                                        2 of 2
